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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-MJ-018
JACOB ANTHONY CHANSLEY, : VIOLATIONS:
also known as “Jacob Angeli,” : 18 U.S.C. § 231(a)(3)
: (Civil Disorder)
Defendant. : 18 U.S.C. § 1512(c)(2)

(Obstruction of an Official Proceeding)
18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building)

40 U.S.C. § 5104(e)(2)(A)

(Violent Entry and Disorderly Conduct in
a Capitol Building)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, JACOB ANTHONY
CHANSELY, also known as “Jacob Angeli,” committed and attempted to commit an act to
obstruct, impede, and interfere with a law enforcement officer lawfully engaged in the lawful

performance of his official duties incident to and during the commission of a civil disorder, and
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the civil disorder obstructed, delayed, or adversely affected the conduct and performance of a
federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia, JACOB ANTHONY
CHANSELY, also known as “Jacob Angeli,” attempted to, and did corruptly obstruct, influence,
and impede an official proceeding, that is, a proceeding before Congress, by committing an act of
civil disorder, and threatening Congressional officials, and unlawfully remaining in a restricted
building without lawful authority, and engaging in disorderly and disruptive conduct.

(Obstruction of an Official Proceeding, in violation of Title 18, United States Code,
Section 1512(c)(2))

COUNT THREE
On or about January 6, 2021, in the District of Columbia, JACOB ANTHONY
CHANSLEY, also known as “Jacob Angeli,” did unlawfully and knowingly enter and remain in
the United States Capitol, a restricted building, without lawful authority to do so.

(Entering and Remaining in a Restricted Building, in violation of Title 18, United States
Code, Section 1752(a)(1))

COUNT FOUR
On or about January 6, 2021, in the District of Columbia, JACOB ANTHONY
CHANSLEY, also known as “Jacob Angeli,” did knowingly, and with intent to impede and disrupt
the orderly conduct of Government business and official functions, engaged in disorderly and
disruptive conduct in and within such proximity to, the United States Capitol, a restricted building,
when and so that such conduct did in fact impede and disrupt the orderly conduct of Government

business and official functions, by forcing his way inside the United States Capitol and traversing
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the United States Capito] Grounds in an effort to prevent the Electoral College votes from being
certified.

(Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
United States Code, Section 1752(a)(2))

COUNT FIVE
On or about January 6, 2021, in the District of Columbia, JACOB ANTHONY
CHANSLEY, also known as “Jacob Angeli,” willfully and knowingly entered or remained on the
floor of a House of Congress or in any cloakroom or lobby adjacent to that floor, without
authorization to do so.

(Violent Entry and Disorderly Conduct in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(A))

COUNT SIX
On or about January 6, 2021, in the District of Columbia, JACOB ANTHONY
CHANSLEY, also known as “Jacob Angeli,” willfully and knowingly paraded, demonstrated, and
picketed in a Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

Micka Drouin / JS
Attorney of the United States in
and for the District of Columbia.

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